              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:16-cr-00064-MR-DLH-4


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                          ORDER
                                 )
CHARLES ERIC FREEMAN,            )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Information Pursuant to 21 U.S.C. § 851 [Doc. 352].

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 352] is GRANTED, and the Information filed by the

Government pursuant to 21 U.S.C. § 851 in the above-captioned case is

hereby DISMISSED.

     IT IS SO ORDERED.         Signed: March 3, 2017




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